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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:                                                        Chapter 11

 ORION HEALTHCORP, INC. et al.,                                Case No. 18-71748 (AST)
                                 Debtors.
 HOWARD M. EHRENBERG, IN HIS CAPACITY                          Adv. Proc. No. 20-08049 (AST)
 AS LIQUIDATING TRUSTEE OF ORION
 HEALTHCORP, INC., ET AL.,

                                 Plaintiff,
                   V.

 ARVIND WALIA; NIKNIM MANAGEMENT INC.,

                                 Defendants.



     STIPULATION FOR SCHEDULING ORDER RE: BRIEFING SCHEDULE FOR
           SUMMARY JUDGMENT MOTIONS AND ORDER THEREON

          Plaintiff, Howard Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcare,

Inc. (the “Plaintiff”) and Defendants Arvind Walia and Niknim Management, Inc. (the

“Defendants,” and together with the Plaintiff, the “Parties”), by and through their undersigned

counsel of record, submit the following Stipulation For Scheduling Order Re: Briefing Schedule

For Summary Judgment Motions And Order Thereon for consideration by the Court (the

“Stipulation”):

          Whereas, Plaintiff filed a letter requesting permission to file a motion for summary

judgment, or in the alternative summary adjudication, on select issues. As stated at the hearing

on October 19, 2022, Defendant requested permission to similarly file a motion for summary

judgment. The Court will grant the parties request to file motions for summary judgement and

the parties were instructed to enter into a briefing schedule. The Parties have met and conferred

in good faith and set forth the following schedule which the Parties request approval.




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         The Parties will meet and confer in good faith concerning the preparation of a Joint

Statement of Undisputed Facts with the intention to agree to as many undisputed facts as

possible.

         On or before January 18, 2023, any party may move for summary judgment, or

alternatively summary adjudication.

         On or before February 22, 2023, any Opposition shall be filed.

         On or before March 8, 2023, any Reply brief shall be filed.

         Considering the Parties Stipulation, and based on the record, the interests of justice and

efficiency:

         It is hereby ORDERED as follows:

         1.      This Court’s Local Bankruptcy Rule 7056-1 governs the filing of summary

judgment.

         2.      On or before December 15, 2023, the Parties shall meet and confer regarding the

submission of a joint statement of undisputed facts to be filed concurrently with the Parties’

Motion(s).

         3.      On or before January 18, 2023, any party may move for summary judgment, or

alternatively summary adjudication.

         4.      Any Opposition to Summary Judgment shall be filed no later than February 22,

2023.




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        5.       Any Reply Brief shall be filed no later than March 8, 2023.

Dated: November 15, 2022                                Dated: November 15, 2022

PACHULSKI STANG ZIEHL & JONES LLP                       ROSEN & ASSOCIATES, P.C.
Counsel to Plaintiff Howard M. Ehrenberg, in his        Counsel to Defendants, Arvind Walia and
capacity of Liquidating Trustee of Orion                Niknim Management Inc.
Healthcorp, Inc., et al

By: /s/ Jeffrey P. Nolan                                By: /s/ Sanford P. Rosen
   Ilan D. Scharf, Esq.                                    Sanford P. Rosen, Esq.
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SO ORDERED:




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